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 1   Eric H. Gibbs (State Bar No. 178658)         Dena C. Sharp (State Bar No. 245869)
     Amy M. Zeman (State Bar No. 273100)          Adam E. Polk (State Bar No. 273000)
 2   GIBBS LAW GROUP LLP                          GIRARD SHARP LLP
     505 14th Street, Suite 1110                  601 California Street, Suite 1400
 3   Oakland, CA 94612                            San Francisco, CA 94108
     Tel: (510) 350-9700                          Tel: (415) 981-4800
 4   Fax: (510) 350-9701                          Fax: (415) 981-4846
     ehg@classlawgroup.com                        dsharp@girardsharp.com
 5   amz@classlawgroup.com                        apolk@girardsharp.com

 6
     Adam B. Wolf (State Bar No. 215914)
 7   Tracey B. Cowan (State Bar No. 250053)
     PEIFFER WOLF CARR KANE &
 8   CONWAY, APLC
     4 Embarcadero Center, Suite 1400
 9   San Francisco, CA 94111
     Tel: (415) 766-3545
10   Fax: (415) 402-0058
     awolf@peifferwolf.com
11   tcowan@peifferwolf.com

12   Plaintiffs’ Counsel

13
                                    UNITED STATES DISTRICT COURT
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15                               NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION
17

18   IN RE PACIFIC FERTILITY CENTER                Case No. 3:18-cv-01586-JSC
     LITIGATION
19
                                                   PLAINTIFFS’ ADMINISTRATIVE
20                                                 MOTION TO FILE UNDER SEAL
     This Document Relates to:
21   Case No. 3:18-cv-01586                        N.D. Cal. Local Rules 7-11 and 79-5(e)
     (A.B., C.D., E.F., G.H., and I.J.)
22                                                 Jude: Hon. Jacqueline Scott Corley
23
                                                   No Hearing Date Set Pursuant to L.R. 7-11(c)
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 1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that Plaintiffs will and hereby do move the Court, pursuant to Civil

 3   Local Rule 79-5, for an administrative order to file under seal the following documents or portions

 4   thereof:

 5                  Portions of Plaintiffs’ Motion to Exclude Expert Testimony;

 6                  Certain exhibits to the Declaration of Amy M. Zeman in Support of Plaintiffs’ Motion to

 7                   Exclude Expert Testimony, including

 8                         Exhibit 1 – Expert Report of Eldon Leaphart dated November 6, 2020;

 9                         Exhibit 2 – Excerpts from the November 18, 2020 deposition of Eldon Leaphart;

10                         Exhibit 3 – Expert Report of John Cauthen dated November 6, 2020;

11                         Exhibit 4 – Excerpts from the November 24, 2020 Deposition of John Cauthen

12                         Exhibit 5 – Supplemental Report of Grace Centola dated November 20, 2020;

13                         Exhibit 6 – Excerpts from the November 23, 2020 deposition of Grace Centola;

14                         Exhibit 7 – Supplemental Report of Franklin Miller dated November 20, 2020;

15                         Exhibit 8 – Excerpts from the December 1, 2020 Franklin Miller deposition;

16                         Exhibit 9 – Second Rebuttal Report of Franklin Miller dated December 11, 2020;

17                         Exhibit 10 – Expert Report of Angela Lawson dated December 4, 2020;

18                         Exhibit 11 – Excerpts from the December 11, 2020 deposition of Angela

19                          Lawson;

20                         Exhibit 13 – Bates-stamped document MSO005378 – MSO005380; and

21                         Exhibit 14 – Pacific MSO, LLC’s Response to Defendant Chart, Inc.’s Subpoena

22                          for 30(b)(6) Deposition by Written Questions, dated October 23, 2020; and

23                  Portions of Plaintiffs’ Proposed Order to Exclude Expert Testimony.

24   Plaintiffs file this motion to comply with the Second Amended Stipulated Protective Order (ECF No.

25   596) and Civil Local Rule 79-5. Pursuant to Civil Local Rules 79-5 and 7-11(c), no hearing date has

26   been set.

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 1                                        Material to Be Filed Under Seal

 2          Paragraph 12.3 of the Second Amended Stipulated Protective Order prohibits a party from filing

 3   in the public record any disclosure or discovery material that is designated “CONFIDENTIAL” or

 4   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (“Protected Material”) without written

 5   permission from the Designating Party or a court order secured after appropriate notice to all interested

 6   persons. Protected Material includes portions of pleadings that contain, summarize, or reflect the

 7   Protected Material. ECF No. 598 at ¶ 12.3.

 8          Material Designated by Defendants. Defendants Chart Inc. designated the material in exhibits 1

 9   through 9 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and the material in exhibits 10

10 and 11 “CONFIDENTIAL.” Third-Party Pacific MSO, LLC designated the materials in exhibits 13

11 and 14 “CONFIDENTIAL.” All of the material marked for sealing in Plaintiffs’ Motion to Exclude

12 Expert Testimony derives from material designated as “CONFIDENTIAL” or “HIGHLY

13   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by those two entities. Pursuant to Local Rules 79-

14   5(e)(1) and (2), the Designating Parties are responsible for establishing that all of the designated materials

15   are sealable. With the exception of Plaintiff names and other identifying information in the Expert Report

16   of Angela Lawson, which the Court has previously permitted to be filed under seal (see Order, ECF No.

17   404), Plaintiffs do not consider it appropriate to keep these materials under seal.

18          Plaintiffs nonetheless move to file the designated materials under seal pursuant to paragraph 12.3

19   of the Second Amended Stipulated Protective Order and Local Rules 7-11 and 79-5.

20          As required by Civil Local Rule 79-5(d)(1), the following attachments accompany this motion:

21          1.      The Declaration of Amy M. Zeman in Support of Plaintiffs’ Administrative Motion to

22                  Seal;

23          2.      A proposed order that lists each document and portion thereof sought to be sealed;

24          3.      Redacted and unredacted versions of the Motion to Exclude Expert Testimony;

25          4.      Redacted and unredacted versions of the exhibits to the Declaration of Amy M. Zeman in

26                  Support of Plaintiffs’ Motion to Exclude Expert Testimony; and

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 1         5.     Redacted and unredacted version of Plaintiffs’ Proposed Order to Exclude Expert

 2                Testimony.

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 4   Dated: December 22, 2020                      Respectfully submitted,

 5
                                                   By:    /s/ Amy M. Zeman
 6
                                                   Eric H. Gibbs (State Bar No. 178658)
 7                                                 Amy M. Zeman (State Bar No. 273100)
                                                   GIBBS LAW GROUP LLP
 8                                                 505 14th Street, Suite 1110
 9                                                 Oakland, CA 94612
                                                   Tel: (510) 350-9700
10                                                 Fax: (510) 350-9701
                                                   ehg@classlawgroup.com
11                                                 amz@classlawgroup.com
12                                                 Dena C. Sharp (State Bar No. 245869)
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                                                   San Francisco, CA 94108
15                                                 Tel: (415) 981-4800
                                                   Fax: (415) 981-4846
16                                                 dsharp@girardsharp.com
17                                                 apolk@girardsharp.com

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                                                   Tracey B. Cowan (State Bar No. 250053)
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                                                   CONWAY, APLC
20
                                                   4 Embarcadero Center, Suite 1400
21                                                 San Francisco, CA 94111
                                                   Tel: (415) 766-3545
22                                                 Fax: (415) 402-0058
                                                   awolf@peifferwolf.com
23                                                 tcowan@peifferwolf.com
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                                                   Plaintiff’s Counsel
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 1                                     CERTIFICATE OF SERVICE

 2     I hereby certify that on December 22, 2020, I electronically filed the foregoing document using the

 3   CM/ECF system, which will send notification of such filing to all counsel of record registered in the

 4   CM/ECF system. I also caused an unredacted copy of the foregoing document to be served via email

 5   on counsel of record.

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 7                                                        /s/ Amy Zeman

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